Case 22-19361-MBK              Doc 279      Filed 01/13/23 Entered 01/13/23 15:40:13              Desc Main
                                          Document      Page 1 of 13



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
     BROWN RUDNICK LLP                                        BROWN RUDNICK LLP
     Robert J. Stark, Esq.                                    Stephen D. Palley, Esq.
     Kenneth J. Aulet, Esq.                                   601 Thirteenth Street, NW
     Bennett S. Silverberg, Esq.                              Washington, DC 20005
     Seven Times Square                                       Telephone: (617)536-1766
     New York, NY 10036                                       Fax: (617)289-0466
     Telephone: (212) 209-4800                                Email: spalley@brownrudnick.com
     Fax: (212) 209-4801
     Email: rstark@brownrudnick.com
             kaulet@brownrudnick.com
             bsilverberg@brownrudnick.com
     Proposed Counsel for the Official Committee of
     Unsecured Creditors
       -and-
     GENOVA BURNS LLC.
     Daniel M. Stolz, Esq.
     Donald W. Clarke, Esq.
     Gregory S. Kinoian, Esq.
     110 Allen Rd., Suite 304
     Basking Ridge, NJ 07920
     Telephone: (973) 230-2095
     Fax: (973) 533-1112
     Email: DStolz@genovaburns.com
             DClarke@genovaburns.com
             GKinoian@genovaburns.com
     Proposed Local Counsel for the Official
      Committee of Unsecured Creditors

                                                                 Chapter 11
     In re:
                                                                 Case No. 22-19361 (MBK)
     BLOCKFI INC., et al.,
                                                                 Jointly Administered
                                Debtors.1




 1
       The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
       identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
       (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
       BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC
       (0154). The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City,
       NJ 07302.
Case 22-19361-MBK          Doc 279      Filed 01/13/23 Entered 01/13/23 15:40:13               Desc Main
                                      Document      Page 2 of 13



                   OBJECTION OF THE OFFICIAL COMMITTEE
              OF UNSECURED CREDITORS TO APPLICATION OF THE
             DEBTORS AND DEBTORS IN POSSESSION FOR ENTRY OF
        AN ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
      MOELIS & COMPANY LLC AS INVESTMENT BANKER, CAPITAL MARKETS
     ADVISOR, AND FINANCIAL ADVISOR EFFECTIVE AS OF THE PETITION DATE

         The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

 Chapter 11 cases of the above-captioned debtors (“BlockFi” or the “Debtors”), by and through its

 undersigned proposed counsel, hereby files this Objection to the Application of the Debtors and

 Debtors in Possession for Entry of an Order Authorizing the Retention and Employment of Moelis

 & Company LLC as Investment Banker, Capital Markets Advisor, and Financial Advisor Effective

 as of the Petition Date [Docket No. 139] (the “Moelis Application”)2. In support of this

 Objection, the Committee respectfully states as follows:


                                   PRELIMINARY STATEMENT

         1.      This is not an ordinary Chapter 11 proceeding, involving an ordinary business

 enterprise that, for one reason or another, has become over-leveraged. This case does not

 immediately present itself as a business “rehabilitation” following traditional Chapter 11 models

 and methods. BlockFi is not now operational, and it is hard to discern if the company can be

 “jumpstarted” to a reorganization or sale as a viable going concern. The first order of business in

 this Chapter 11 case – unlike in virtually every other large Chapter 11 case – is to see if creditors

 are not better off just letting BlockFi expire.

         2.      To be clear, the Committee does not yet have a view on that question. Much more

 diligence is required, and the Committee is working hard to draw a conclusion as soon as possible.



 2
      All capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such
      terms in the Moelis Application.

                                                     2
Case 22-19361-MBK         Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13               Desc Main
                                    Document      Page 3 of 13



 Given the size of the company and the problems inherent in the entire cryptocurrency ecosystem,

 the Committee will require more time to assess. But, despite the Committee’s request for a short

 adjournment, the Debtors are bent on moving forward now with the Moelis Application. However,

 without a clear view on whether the services described in the Moelis Application are likely to bring

 any real value to the estates, it seems premature to sign away such substantial sums.

        3.      In the context of most other (i.e., ordinary) Chapter 11 cases, the need for the kind

 of services Moelis offers would be obvious. Not so here. Restructuring investment bankers

 primarily do three things: (1) raise capital; (2) help value reorganizing businesses and, in turn, help

 allocate enterprise value among stakeholders under a plan; and (3) run M&A processes for assets

 or businesses that need to be sold. It is unclear how those services might be helpful here. First,

 there is no impending need for financing, given that the company converted all non-wallet

 cryptocurrency to U.S. dollars just before the filing. See Declaration of Mark A. Renzi in Support

 of Debtors’ Chapter 11 Petitions and First-Day Motions [Docket No. 17] (the “Renzi

 Declaration”), at ¶ 99. Second, there is no pressing need for valuation services, given that the

 Debtors are not now an operating business enterprise and, even if they were, the Debtors’ capital

 structure is flat (i.e., there are very few creditor classes). Third, there is little available data

 suggesting that an enterprise-wide M&A process has a likelihood of success. To the contrary, the

 data shows this: The industry is in utter turmoil; potential strategic buyers (i.e., competitors) have

 been challenged by adverse sector developments; any buyer will assuredly face increased

 regulatory scrutiny following FTX’s descent, which cannot help the bidding dynamic; and, the

 only recent precedent transaction (i.e., Voyager’s sale to Binance) showed limited bidding interest

 and a very disappointing execution level.




                                                   3
Case 22-19361-MBK          Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13               Desc Main
                                     Document      Page 4 of 13



         4.      Against this backdrop, the Moelis Application is not about case “needs.” It is about

 case “options.” Moelis will, for example, probe the M&A marketplace to see if a sale of BlockFi

 might generate some bidding interest.          Moelis will help the company design a plan of

 reorganization, if management can draw up a feasible business plan. And, Moelis will help market

 esoteric assets (e.g., loans and estate causes of action) if the case parties ultimately think Moelis is

 the right firm for that kind of job ‒ unlikely, but an option nonetheless.

         5.      The Committee does not oppose exploring options. Optionality is generally a good

 thing, especially when the Debtors’ future does not today look assured. But, how much should

 optionality cost? The Debtors think it reasonable for Moelis to charge the estates north of $10

 million, trending towards $20 million (payable regardless of outcome), for exploring options. This

 is where the Debtors and the Committee part company.

         6.      In this contested matter, the Debtors carry the burdens of proof and persuasion, and

 the facts “on the ground” simply do not support the relief requested. The Committee had hoped,

 and continues to hope, that consensus can be reached respecting the Moelis Application. It will

 continue to interface with the Debtors and Moelis in pursuit of that objective. But, negotiations

 are a two-way street, and the “I’d rather take my                       chances    with   the Court”

 attitude (instead of good-faith negotiations) is not likely to yield consensus – in this contested

 matter or any that may follow. If a compromise cannot be achieved, the Committee respectfully

 requests that the Court deny the relief requested.




                                                    4
Case 22-19361-MBK           Doc 279      Filed 01/13/23 Entered 01/13/23 15:40:13                 Desc Main
                                       Document      Page 5 of 13



                                       BASES FOR OBJECTION

 I.       The Proposed Restructuring Terms, In Brief.

          7.      The Moelis Application contemplates the following compensation terms for

 Moelis:

               (a) Retention Fee: $500,000 (to be offset against the Restructuring Fee or the Sale
                   Transaction Fee).

               (b) Monthly Fee: $200,000 (after 3 months, 50% of the Monthly Fee to be offset
                   against the Restructuring Fee or the Sale Transaction Fee).

               (c) Restructuring Fee: $8,000,000, or $9,000,000 if Moelis has not received a Mining
                   Assets Sale Fee or a Claim Monetization Fee.

               (d) Sale Transaction Fee3: $8,000,000, or $9,000,000 if Moelis has not received a
                   Mining Assets Sale Fee or a Claim Monetization Fee.

               (e) Capital Transaction Fee: 1% of first-lien debt; 3% of junior debt; 4% of equity
                   financing, in each case whether or not the Debtors draw the full amounts committed
                   or apply such amounts to refinance its obligations;

               (f) Mining Assets Sale Fee: $500,000 plus 5% of total gross consideration received or
                   to be received in connection with a Mining Assets Sale; and

               (g) Claim Monetization Transaction Fee: $500,000 plus 5% of the total gross
                   consideration received or to be received in connection with a Claim Monetization
                   Transaction.

 Moelis Application at ¶ 17.

          8.      To unpack this, presume the case lasts five months, culminating in a Section 363

 sale transaction of the BlockFi assets (excluding the mining assets) yielding just a few million

 extra dollars to the estates (like the Voyager sale), and all is distributed to customers via a simple

 plan of liquidation. Not an unlikely case outcome knowing what we know now, and not an

 outcome where one could objectively say Moelis’s work contributed a whole lot. Yet, under that

 circumstance, Moelis could be entitled to a fee equal to $12.8 million, comprised $800,000 of in


 3
      As discussed infra, ¶ 9, it is unclear to the Committee when, if ever, a Sale Transaction Fee would be
      incurred.
                                                      5
Case 22-19361-MBK         Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13               Desc Main
                                    Document      Page 6 of 13



 monthly fees, an $8 million Restructuring Fee, and a $4 million Claim Monetization Transaction

 Fee. And, since the retention is proposed under Section 328(a), the fee cannot be reassessed later

 on, given that what is foreseeable today is arguably not “improvident” at the end.

        9.      The retention terms thus liken to a confidence game of old, the “pig in a poke.”

 Sections 328 and 330 are not supposed to work that way, as set forth below.

 III.   The Relief Requested Should Be Denied
        Because The Terms Of Retention Are Excessive Given
        The Peculiar Case Facts And Moelis’s Limited Task Assignments.

        A.      Applicable Legal Principles.

        10.     Under Section 328(a), a debtor may employ a professional on “reasonable terms

 and conditions.” 11 U.S.C. 328(a) (“The trustee, or a committee appointed under section 1102 of

 this title, with the court’s approval, may employ or authorize the employment of a professional

 person under section 327 or 1103 of this title, as the case may be, on any reasonable terms and

 conditions of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee

 basis, or on a contingent fee basis.” (emphasis added)).

        11.     In assessing “reasonableness,” courts have focused on: (i) whether the proposed

 retention reflects normal business terms in the marketplace; (ii) whether there were arm’s-length

 negotiations between the parties; (iii) whether the retention, as proposed, is in the best interests of

 the estate; (iv) whether there is creditor opposition to the retention provisions; and – here, of

 particular import -- (v) whether, given the size, circumstance, and posture of the case, the amount

 is itself reasonable. See In re Insilco Techs., Inc., 291 B.R. 628, 634 (Bankr. D. Del. 2003).

        12.     Proposed fee structures for investment bankers require “close scrutiny” to ensure

 that they meet the reasonableness requirement. See In re Drexel Burnham Lambert Grp. Inc., 133

 B.R. 13, 27 (Bankr. S.D.N.Y. 1991). The Court, “in its duties as a gatekeeper, must have a


                                                   6
Case 22-19361-MBK         Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13            Desc Main
                                    Document      Page 7 of 13



 sufficiently strong record when deciding whether to approve a professional under § 328(a)” in

 order to determine that the proposed terms are reasonable, and parties seeking to retain

 professionals must present evidence of such reasonableness, rather than conclusory statements.

 See In re Energy Partners, Ltd., 409 B.R. 211, 225 (Bankr. S.D. Tex. 2009) (denying application

 based on lack of evidence of these factors); In re High Voltage Eng’g Corp., 311 B.R. 320, 333-

 35 (Bankr. D. Mass. 2004) (denying application based on lack of evidence that proposed

 compensation was reasonable). Moreover, in ruling on a Section 328 application, “a Bankruptcy

 Court need not approve or reject an application as presented but “may approve the employment of

 a professional on any terms and conditions that the Court finds necessary to satisfy the requirement

 of reasonableness.” In re Federal Mogul-Global, Inc., 348 F.3d 390, 397 (3d Cir. 2003).

        13.     The party filing the retention application – here, BlockFi – bears the burdens of

 proof and persuasion as to whether the application should be granted. See, e.g., In re Interwest

 Bus. Equip., Inc., 23 F.3d 311, 318 (10th Cir. 1994) (“An applicant under § 327(a) has the burden

 of establishing by application and accompanying affidavit that its chosen professional is

 qualified.”); In re Energy Partners, Ltd., 409 B.R. at 224 (parties filing applications to employ

 professionals have the burden of proving by a preponderance of the evidence that the proposed

 professionals’ fees are reasonable); In re Metricom, Inc., 275 B.R. 364, 371 (Bankr. N.D. Cal.

 2002) (proponent of application has the burden to prove that terms of employment are reasonable).

        B.      The Debtors Cannot Carry Their Burdens Of
                Proof And Persuasion Respecting The Moelis Application.

        14.     The Sale Transaction And Restructuring Fees. First, it bears observing that the

 Moelis Application is unclear as to when, if ever, a Sale Transaction Fee would be incurred. The

 Moelis Application indicates that “[i]n the event of a Sale Transaction that is consummated

 pursuant to Section 363 of the Bankruptcy Code, such Sale Transaction shall trigger a

                                                  7
Case 22-19361-MBK           Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13                  Desc Main
                                      Document      Page 8 of 13



 Restructuring Fee. To the extent a Transaction is both a Sale Transaction and a Restructuring

 Transaction, the Debtors shall pay the Restructuring Fee.” Moelis Application at ¶ 17. Given that

 “Sale Transaction” is defined to include the sale “of a significant portion” of the assets of the

 Debtors, see Engagement Letter at 3, the Committee assumes that any Sale Transaction would

 occur under Section 363 and therefore incur a Restructuring Fee. In any case, any order granting

 the Moelis Application should be crystal clear that in no case will both a Sale Transaction Fee and

 Restructuring Fee be paid, as the fear of compounding fees has strong basis in today’s bankruptcy

 culture.

         15.     Second, respecting the Sale Transaction Fee, one would think the size of the fee

 would be pegged – and thereby justified by reference ‒ to data suggesting that the estates will

 likely generate more sales proceeds than would be paid for exploring the option. We do not have

 that. The data, in fact, suggests the contrary. Today: (1) there are several crypto-trading platforms

 in bankruptcy, all available for purchase in whole or in part; (2) Celsius has been in bankruptcy

 far longer than BlockFi, and, to date, it has been unable to consummate a transaction with any

 comprehensive buyer or to find another exit solution; and (3) the collapse of FTX has imposed a

 massive black cloud over the entire trading industry, from both a customer and legal/regulatory

 perspective. Moreover, the only precedent transaction available – Binance’s recent acquisition of

 Voyager, a deal that Moelis (working for Voyager) put together – yielded a mere $20 million to

 the estates, beyond the store of cryptocurrency Voyager sold to Binance dollar-for-dollar.4 This


 4
     See Debtors’ Motion for Entry of an Order (I) Authorizing Entry Into the Binance US Purchase
     Agreement and (II) Granting Related Relief, In re Voyager Digital Holdings, Inc., No. 22-10943
     (MEW) (Bankr. S.D.N.Y.) [ECF 775] at ¶¶ 2, 14. From the outsider’s view, it would appear that
     Binance agreed to buy Voyager not because it wanted the platform but because it wanted Voyager’s
     massive stockpile of cryptocurrency and the customer accounts holding that cryptocurrency. BlockFi,
     in juxtaposition, does not have any cryptocurrency to include in a sale transaction. That is because it
     converted its entire stockpile into fiat currency just before the filing date. See Renzi Declaration at ¶
     99.
                                                      8
Case 22-19361-MBK         Doc 279     Filed 01/13/23 Entered 01/13/23 15:40:13               Desc Main
                                    Document      Page 9 of 13



 is not, in sum, an exciting time to try to sell a cryptocurrency trading and lending platform, and

 the proposed fee presents an unflattering risk/reward profile for the BlockFi estates.

        16.     Third, respecting the Restructuring Fee, the Committee is at a loss to understand

 what services Moelis will provide that are not otherwise being performed (on an hourly fee basis)

 by the Debtors’ other financial advisor, Berkeley Research Group. Again, there is no financing to

 raise; there is no enterprise to value; and, the Debtors do not have a complex corporate/capital

 structure giving rise to inter-creditor value allocation issues. Tellingly, the fee is payable even if

 the case is a straight liquidation, under a plan of liquidation or under Chapter 7. Given the nature

 of this case, this attribute of the Moelis Application appears to be just an extrapolation – “we get

 a great big restructuring fee in other bankruptcies, so we should get one here” – untethered to any

 actual work that Moelis would be asked to perform or how the case ends up. Here, in particular,

 the Committee holds the Debtors to their burdens of proof and persuasion.5

        17.     The Monthly Fees. As the Court is aware, historically, financial and banking

 advisors retained in Chapter 11 were all paid on an hourly basis, just like lawyers. A decade or

 two ago, bankers started proposing that they be retained (via Section 328(a)) per the non-

 bankruptcy M&A model, where their fee was strictly a percentage of the “success” realized in the

 ultimate case transaction. Then came the monthly fee, as a sort of advance against the “success”

 fee; as such, the monthly fee was to be fully credited against the ultimate “success” fee. Then,

 crediting was diluted, and various incremental fees got added in the feeding frenzy. Today, it is

 hard to rationalize how far banker fee structures have migrated from the point of origin.




 5
     The Debtors have also not shown the Court or the Committee how they attempted to compare the
     proposed terms of the Moelis Application to other investment banking professionals, or whether they
     ran a diligence process at all.
                                                   9
Case 22-19361-MBK         Doc 279 Filed 01/13/23 Entered 01/13/23 15:40:13                   Desc Main
                                 Document    Page 10 of 13



        18.     In the context of this unusual Chapter 11 case, the Committee is compelled to ask:

 What work will Moelis provide the Debtors each month that is not otherwise duplicative of the

 work geared towards the transaction fees? To the Committee, this just appears to be another

 extrapolation from other cases, untethered to the facts on the ground. If the monthly fees were to

 be fully credited (as was historically contemplated in the industry), the Committee would have no

 objection to them. But, that is not what is being proposed.

        19.     The Claims Monetization Fee.             Moelis receives a “Claim Monetization

 Transaction Fee” of $500,000 plus 5% of the total gross consideration received for each sale, in

 whole or in part, of the “Claim Assets” (e.g., claims against FTX/Alameda and estate causes of

 action), up to $4 million (which cap encompasses the Mining Asset Sale Fee as well). Presuming,

 for the sake of argument, that the estates should sell their litigation entitlements to FTX and others

 (big assumption), what possible competency does Moelis have to serve as a broker for litigation

 claims? That is not the kind of work that investment banks like Moelis are known to do and, more

 to the point, there are other trading outfits that are far better known as market makers in these types

 of assets. See Jonathan Randles, Crypto Customers Sell Claims at a Loss to Avoid Bankruptcy

 Wait, Wall St. J., Dec. 28, 2022 (available at https://www.wsj.com/articles/crypto-customers-sell-

 claims-at-a-loss-to-avoid-bankruptcy-wait-11672177834). The assumption now has to be that, if

 Moelis is ultimately tasked with marketing such assets, they will do so by reaching out those very

 market-makers (thus taxing the estates with a double fee) or by undertaking a job that others are

 better situated (and probably cheaper) to perform.

        20.     The Mining Asset Sale Fee. Moelis receives a “Mining Asset Sale Fee” of

 $500,000 plus 5% of the total gross consideration received for each sale, in whole or in part, of the

 “Mining Assets” (e.g., mining equipment, loans to third-party mining companies, and interests in


                                                  10
Case 22-19361-MBK           Doc 279 Filed 01/13/23 Entered 01/13/23 15:40:13                Desc Main
                                   Document    Page 11 of 13



 joint ventures), up to the $4 million cap. The Committee believes that a 5% fee is well above-

 market for this type and size of transaction, particularly on top of a $500,000 flat fee. As set forth

 in Exhibit A, the Committee suggested a reduction in this fee, which was summarily rejected by

 the Debtors and Moelis.

 IV.     The Committee’s Counterproposal.

         21.     The Committee is mindful that there was a time spread between the Chapter 11

 filing and Committee appointment, and that debtors do not easily pause their case strategy simply

 because the Committee, once appointed, wants to ask questions, learn, and understand. But, that

 is how the system is supposed to work.

         22.     The Debtor tasked Moelis with “option exploration” at case inception, and Moelis

 started working, all before the Committee was appointed. But, they have not gone all that far.

 More to the point, it does not befit an orderly Chapter 11 process if the position is: We got started,

 the fee is what it is, go ahead and file your objection, and we will see what the Court does.

         23.     Beneath the glass at each counsel’s table in the Courtroom is a quote from Abraham

 Lincoln. The Committee appreciates the sentiment expressed in that quote and embraces it. Time

 will tell if others do as well.

         24.     In the meantime, attached to this Objection as Exhibit A is the Committee’s

 counterproposal to Moelis. The Committee remains willing to support the Moelis Application

 under these revised terms.


                                   RESERVATION OF RIGHTS

         25.     The Committee reserves all rights regarding the Moelis Application and this

 Objection, including the right to supplement this Objection, raise additional objection points, and

 submit evidence regarding the Moelis Application, prior to or at the final hearing.

                                                  11
Case 22-19361-MBK         Doc 279 Filed 01/13/23 Entered 01/13/23 15:40:13                 Desc Main
                                 Document    Page 12 of 13



                                          CONCLUSION

        WHEREFORE, for the foregoing reasons, the Committee respectfully request that this

 Court (i) sustain this Objection, (ii) deny the relief requested in the Moelis Application, and (iii)

 grant such other and further relief as it deems proper.

 Dated: January 13, 2023


                                               By: /s/ Daniel M. Stolz
                                               GENOVA BURNS LLC
                                               Daniel M. Stolz, Esq.
                                               Donald W. Clarke, Esq.
                                               Gregory S. Kinoian, Esq.
                                               110 Allen Rd., Suite 304
                                               Basking Ridge, NJ 07920
                                               Telephone: (973) 230-2095
                                               Fax:       (973) 533-1112
                                               Email:     DStolz@genovaburns.com
                                                          DClarke@genovaburns.com
                                                   GKinoian@genovaburns.com
                                               Proposed Local Counsel for the Official
                                               Committee of Unsecured Creditors




                                                 12
Case 22-19361-MBK       Doc 279 Filed 01/13/23 Entered 01/13/23 15:40:13                 Desc Main
                               Document    Page 13 of 13



                                            Exhibit A

                                 Committee Counterproposal



   1. Restructuring Fee: $3 million

   2. Sale Transaction Fee: $8 million, payable in the event of the sale of all or substantially all
      of the assets (other than the Mining Assets and the Claim Assets), even if conducted as part
      of a plan. In the event of an entitlement to both a Restructuring Fee and a Sale Transaction
      Fee, the Sale Transaction Fee would be paid.

   3. Claims Sale Fee: Eliminated entirely.

   4. Mining Asset Sale Fee: Greater of $100,000 or 4% of gross proceeds

   5. Monthly Fee: as proposed

   6. Capital Transaction Fee: as proposed
